                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION

 UNITED STATES OF AMERICA,
              Plaintiff,                               No. CR07-4081-MWB
 vs.                                                   DETENTION ORDER
 AMIE MARIE AGUIRRE,
              Defendant.
                                ____________________


       This matter came on for detention hearing on November 14, 2007. Assistant U.S.
Attorney Kevin Fletcher appeared on behalf of the plaintiff (the “Government”). The
defendant Amie Marie Aguirre appeared in person with her attorney, Priscilla Forsyth.
The Government offered the testimony of Chris Nissen, a Special Agent with the Iowa
Division of Narcotics Enforcement.
       The court must determine whether any condition or combination of conditions will
reasonably assure Aguirre’s appearance as required, as well as the safety of any other
person and the community, in deciding whether to grant the Government's motion for
detention. 18 U.S.C. § 3142(e). A defendant may be detained based on a showing of
either dangerousness or risk of flight; it is not necessary to show both. United States v.
Apker, 964 F.2d 742, 743 (8th Cir. 1992); United States v. Sazenski, 806 F.2d 846,848
(8th Cir. 1986).
       The court is to presume that no condition or combination of conditions will
reasonably assure the appearance of Aguirre as required and the safety of the community
if the court finds there is probable cause to believe Aguirre committed an offense of the
type identified in 18 U.S.C. § 3142(e) for which a maximum term of imprisonment of ten
years or more is prescribed by law. 18 U.S.C. § 3142(e); see 18 U.S.C. § 3142(f)(1).
The probable cause element of section 3142(e) that triggers the rebuttable presumption of


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risk of flight and danger to the community may be established through evidence presented
at the detention hearing of an offense which is subject to the rebuttable presumption. See
Apker, 964 F.2d at 744; United States v. Dorsey, 852 F.2d 1068, 1069 (8th Cir. 1988).
       In the present case, the evidence indicates Aguirre and her paramour, a codefendant
in this case, agreed to distribute a large quantity of methamphetamine. Aguirre was
present at the scenes of two controlled buys of methamphetamine. Also, while Aguirre
was in a residential drug treatment program, she set up a drug transaction in which her
mother, who lives with Aguirre, actually made the sale.
       Further, Aguirre has failed to offer any evidence to rebut the presumption that she
is a danger to the community. The presumption arises from the charge itself – a serious
drug charge involving conspiracy to distribute a significant quantity of methamphetamine.
See United States v. Cox, 635 F. Supp. 1047, 1055 (D. Kan. 1986) (citing United States
v. Fortna, 769 F.2d 243, 247 (5th Cir. 1985). Viewing the record as a whole, the court
finds nothing to indicate Aguirre would be able to refrain from continuing to engage in
criminal activities if she were released.
       Accordingly, the court finds the Government has proved by clear and convincing
evidence that Aguirre would be a danger to the community if released. Therefore, the
court finds the following:
       1.     Aguirre is committed to the custody of the Attorney General for confinement
in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal.
       2.     The Attorney General shall afford Aguirre reasonable opportunity for private
consultation with counsel while detained.
       3.     On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver Aguirre to the




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United States Marshal for the purpose of an appearance in connection with a court
proceeding.
      4.      If a “review” motion for revocation or amendment is filed, pursuant to 28
U.S.C. § 3145(a) or (b), the party requesting a change in the original order must:
              (a)   Attach a copy of the release/detention order to the appeal;
              (b)   Promptly secure a transcript.
      5.      There is no automatic stay of this Order. Therefore, Aguirre must request
such relief from the court.
      IT IS SO ORDERED.
      DATED this 15th day of November, 2007.




                                        PAUL A. ZOSS
                                        CHIEF MAGISTRATE JUDGE
                                        UNITED STATES DISTRICT COURT




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